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      Financial Law Group
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      La Jolla, CA 92037
  4   Telephone (858) 454-9887
      Facsimile (858) 454-9596
  5
      Attorneys for Leslie T. Gladstone, Chapter 7 Trustee
  6
                           UNITED STATES BANKRUPTCY COURT
  7
                           SOUTHERN DISTRICT OF CALIFORNIA
  8
      In re                                       ) Case No. 15-05422-LA7
  9                                               )
      COAST MEDICAL CENTER, INC.,                 ) NOTICE OF LODGMENT OF ORDER
 10                                               ) AFTER HEARING ON OPPOSITION
                                                  ) TO TRUSTEE’S NOTICE OF
 11                                               ) INTENDED ACTION RE:
                                                  ) ALLOWANCE OF COMPENSATION
 12                                               ) AND REIMBURSEMENT OF
                                                  ) EXPENSES OF CHAPTER 7 TRUSTEE
 13                                               ) AND TRUSTEE’S FINAL REPORT
                                                  )
 14                                               ) Date: June 14, 2018
                           Debtor(s).             ) Time: 2:00 p.m.,
 15                                               ) Dept.: Two (2)
                                                  ) Honorable Louise DeCarl Adler
 16
 17           TO ALL INTERESTED PARTIES AND THEIR COUNSEL OF RECORD:
 18           You are hereby served with a copy of the proposed Order After Hearing on
 19   Opposition to Trustee’s Notice of Intended Action Re: Allowance of Compensation and
 20   Reimbursement of Expenses of Chapter 7 Trustee and Trustee’s Final Report, attached
 21   hereto as Exhibit "A" and herein incorporated by reference, which order is being lodged
 22   with the Bankruptcy Court on this date. You are hereby notified that you have seven (7)
 23   days within which to file and serve any objection to the form and substance of said order,
 24   and you may file and serve an alternate order if desired.
 25
 26   Dated: June 19, 2018               By: /s/ Christin A. Batt
                                         Christin A. Batt, Esq.,
 27                                      Attorney for Leslie T. Gladstone, Trustee
 28

                                                                          Notice of Lodgment of Order.wpd
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  1                                 CERTIFICATE OF SERVICE
  2          I, the undersigned declares as follows:
  3          I am, and was at the time of service of the papers herein referred to, over the age of
  4   18 years, and not a party to this action; and I am employed in the County of San Diego,
  5   California, within which county the subject mailing occurred. My business address is 401
  6   Via Del Norte, La Jolla, California 92037.
  7          On June 20, 2018, I caused to be served:
  8          NOTICE OF LODGMENT OF ORDER AFTER HEARING ON OPPOSITION
             TO TRUSTEE’S NOTICE OF INTENDED ACTION RE: ALLOWANCE OF
  9          COMPENSATION AND REIMBURSEMENT OF EXPENSES OF CHAPTER
             7 TRUSTEE AND TRUSTEE’S FINAL REPORT
 10
 11   on the parties in this actions as follows:
 12   I.     TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING
 13   (“NEF”): Pursuant to controlling General Order(s) and Local Bankruptcy Rule(s) ("LBR"),
 14   the foregoing document will be served by the court via NEF and hyperlink to the document.
 15   On June 20, 2018, I checked the CM/ECF docket for this bankruptcy case or adversary
 16   proceeding and determined that the following person(s) are on the Electronic Mail Notice
 17   List to receive NEF transmission at the e-mail address(es) indicated below:
 18          •      Christin A. Batt christinb@flgsd.com, sandray@flgsd.com;
                    candic@flgsd.com; leslieg@flgsd.com
 19          •      Laurie Cayton laurie.cayton@usdoj.gov
             •      M a r y T e s t e r ma n Du v o i s i n U S T P . r e g i o n 1 5 @u s d o j . g o v ;
 20                 tiffany.l.carroll@usdoj.gov
             •      Leslie T. Gladstone candic@flgsd.com, candic@flgsd.com;
 21                 christinb@flgsd.com; sandray@flgsd.com; ltg@trustesolutions.net;
                    andrewg@flgsd.com
 22          •      David S. Greenberg dsgtaxlaw@gmail.com, r61085@notify.bestcase.com
                    United States Trustee ustp.region15@usdoj.gov
 23
 24   II.    SERVED BY U.S. MAIL OR OVERNIGHT MAIL: On June 20, 2018, I served
 25   the following person(s) and/or entity(ies) at the last known address(es) in this bankruptcy
 26   case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope
 27   in the United States Mail, first class, postage prepaid, and/or with an overnight mail service
 28   addressed as follows:

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  1   Denise Dominguez
      706 E. Ohio Ave.
  2   Escondido, CA 92025
      Creditor
  3   VIA FIRST CLASS MAIL
  4   III.   BY ELECTRONIC SERVICE, by causing such document(s) to be electronically
  5   served on the interested parties in the above-referenced action and addressed as set forth
  6   below. This transmission was reported as complete without error and a copy of the report
  7   will be maintained with the document by the sender.
  8          I declare under penalty of perjury under the laws of the United States of America that
  9   the foregoing is true and correct.
 10          Executed June 20, 2018, at La Jolla, California.
 11
 12                                                /s/ Candi Collins
                                                   CANDI COLLINS
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                               EXHIBIT “A”




                               EXHIBIT “A”
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Leslie T. Gladstone, Esq., (SBN 144615)
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Attorneys for Leslie T. Gladstone, Chapter 7 Trustee

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COAST MEDICAL CENTER, INC.
                                                                                         %$1.5837&<1215-05422-LA7

                                                                                         'DWHRI+HDULQJ June 14, 2018
                                                                                         7LPHRI+HDULQJ 2:00 p.m.
                                                                             'HEWRU    1DPHRI-XGJH Louise De Carl Adler




                                    25'(5$)7(5+($5,1*21 OPPOSITION TO TRUSTEE'S
           NOTICE OF INTENDED ACTION RE: ALLOWANCE OF COMPENSATION AND REIMBURSEMENT OF
                       EXPENSES OF CHAPTER 7 TRUSTEE AND TRUSTEE'S FINAL REPORT


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CSD 1001C [/1/](Page 2)
ORDER ON: NOTICE OF INTENDED ACTION RE: ALLOWANCE OF COMPENSATION AND REIMBURSEMENT OF
         EXPENSES
DEBTOR: COAST      OF CHAPTER
              MEDICAL          7 TRUSTEE AND TRUSTEE'S FINAL REPORTCASE NO: 15-05422-LA7
                      CENTER, INC.

On or about March 21, 2018, Leslie T. Gladstone (the “Trustee”) filed and served her Notice of Intended Action and
Opportunity for Hearing regarding her intent to allow compensation or reimbursement of expenses for the Trustee. The
amounts for the Trustee’s fees and costs are $794.20 and $49.37, plus additional actual costs not to exceed $200.00 (the
"Notice"). The Notice had as Exhibit "A" a copy of her proposed Notice of Final Report. The deadline to file opposition to
the Notice was April 16, 2018. As no opposition was received, this Court entered the order approving the Fee Request on
April 17, 2018. On May 3, 2018, Denise Dominguez ("Ms. Dominguez") filed opposition to said Notice and the Trustee's
Final Report, and scheduled a hearing for June 14, 2018, at 2:00 p.m. On May 3, 2018, the Trustee filed her reply to Ms.
Dominguez's opposition.

On June 14, 2018, at 2:00 p.m., this matter came on regularly for hearing in the above-entitled Court. Andrew M. Greene,
Attorney for the Chapter 7 Trustee appeared, and Ms. Dominguez appeared. The Court having reviewed the Trustee's
Notice, the opposition and the Trustee's reply, and good cause appearing therefor,

   IT IS HEREBY ORDERED AS FOLLOWS:

   1. The opposition of Ms. Dominguez to the Chapter 7 Trustee's Final Report is overruled. The Tentative Ruling of the
      Court entered on June 14, 2018, is affirmed.

   IT IS SO ORDERED.




CSD 1001C
